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                               THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MINNESOTA


C.H. Robinson Worldwide, Inc., a Delaware                            Civil No. 03-2978 JRT/FLN
corporation,

                  Plaintiff,
vs.                                                      GHIRARDELLI CHOCOLATE
                                                           COMPANY’S MOTION
Ghirardelli Chocolate Co., a California                  FOR SUMMARY JUDGMENT
corporation,

                  Defendant.


TO:        Plaintiff above-named and its attorneys, Richard J. Nygaard, Rider Bennett, LLP, Suite
           4900, 33 South Sixth Street, Minneapolis, MN 55402.

           Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Ghirardelli Chocolate

Company (“GCC”) hereby moves the Court as follows:

           1.     GCC requests a ruling that the parties entered into an express contractual
                  agreement and dismissing CHRW’s claims for account stated, quantum meruit
                  and unjust enrichment.

           2.     GCC requests a ruling that CHRW’s claims for damages pursuant to all Counts of
                  the Amended Complaint (account stated, quantum meruit and unjust enrichment)
                  be dismissed because it has no admissible evidence to support its claims.

           3.     GCC requests a ruling that CHRW’s claim for account stated be dismissed
                  because there is no genuine issue of material fact.

           This motion will be based upon all the files, affidavits, memoranda and proceedings

herein.

                                              LARSON • KING, LLP



Dated: February 14, 2005                      By s/David A. Schooler
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